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                                                                                                      U.S. DISTRICT COURT
                                                                                                          N.D. OF ALABAMA


                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ALABAMA
                             WESTERN DIVISION

  State of ALABAMA, et al.,
                                            Plaintiffs,
  v.                                                      Case No. 7:24-cv-533

  Miguel CARDONA, in his official capacity
  as the U.S. Secretary of Education, et al.,
                                     Defendants.

                                      [PROPOSED] ORDER
        Before the Court is Plaintiffs’ motion for a stay of the effective date of the challenged

rule (Nondiscrimination on the Basis of Sex in Education Programs or Activities Receiving Federal Financial

Assistance, 89 Fed. Reg. 33,474 (Apr. 29, 2024)), or alternatively a preliminary injunction. Hav-

ing considered the motion, opposition, case file, and applicable law, Plaintiffs’ motion is

GRANTED.

             IT IS ORDERED, pending further order of the Court, that the challenged rule’s

effective date is postponed under 5 U.S.C. §705.

              IT IS ORDERED, pending further order of the Court, that Defendants are

preliminarily enjoined from enforcing, relying on, implementing, or otherwise acting pursuant

to the challenged rule with respect to Alabama, Georgia, Florida, or South Carolina.



Dated: __________ ____, 2024

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